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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 IN RE: ETHIOPIAN AIRLINES FLIGHT ET
 302 CRASH
                                                   Civil No.            1:19-cv-02170


 This Document Relates To: DONNA
                                                   District Judge:      Hon. Jorge L. Alonso
 MARGARET VECERE, Individually, as
 Personal Representative of the Estate of
 MATTHEW THOMAS VECERE,
 deceased, and on behalf of all Surviving
 Beneficiaries.


 Original Case No.: 1:20-cv-03390




     UNOPPOSED MOTION FOR LEAVE TO FILE ADDITIONAL APPEARANCE
        Pursuant to LR 83.17, Robert A. Clifford, Kevin P. Durkin, Tracy A. Brammeier, and

John V. Kalantzis of Clifford Law Offices, P.C, hereby move for leave to file additional

appearances in this matter and in support, state as follows:

        DONNA MARGARET VECERE filed suit on behalf of the Estate of decedent

MATTHEW VECERE, as well as on behalf of all Surviving Beneficiaries [800.10]. TOMRA

VECERE, MATTHEW’s sister, a Surviving Beneficiary, has retained Clifford Law Offices, P.C.

to represent her in the litigation.

        Brian J. Alexander, Justin T. Green, Anthony Tarricone, Daniel O. Rose, Megan W.

Bennett, Vincent C. Lesch of Kreindler & Kreindler, LLP, and Todd A. Smith and Brian LaCien

of Smith LaCien, LLP, will continue to represent the Plaintiff, DONNA MARGARET VECERE,

Individually, and as Personal Representative of the Estate of MATTHEW VECERE.
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       Robert A. Clifford, Kevin P. Durkin, Tracy A. Brammeier, and John V. Kalantzis are

members in good standing of the Bar of the State of Illinois and are admitted to practice before

this Court. As no trial date is pending, the granting of this motion will not cause any undue

delay or be otherwise inequitable.

       WHEREFORE, Robert A. Clifford, Kevin P. Durkin, Tracy A. Brammeier, and John P.

Kalantzis of Clifford Law Offices, P.C. respectfully request this Honorable Court grant Mr.

Clifford, Mr. Durkin, Ms. Brammeier, and Mr. Kalantzis of Clifford Law Offices, P.C. leave to

file their additional appearances as Counsel for Surviving Beneficiary, TOMRA VECERE.

Dated: July 23, 2020                                 Respectfully Submitted,

                                                     /s/ Robert A. Clifford
                                                     Robert A. Clifford (ARDC No. 0461849)
                                                     Kevin P. Durkin (ARDC No. 3127906)
                                                     Tracy A. Brammeier (ARDC No. 6317792)
                                                     John V. Kalantzis (ARDC No. 6283187)
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                                CERTIFICATE OF SERVICE
I, Robert A. Clifford, certify under penalty of perjury that on this 23rd day of July, 2020, I
electronically filed the foregoing Unopposed Motion for Leave to File Additional
Appearance with the Clerk of the Court using the CM/ECF system, which will send notification
of such filing to all attorneys of record.


Dated: July 23, 2020                       /s/ Robert A. Clifford
                                           Robert A. Clifford
                                           One of the Attorneys for TOMRA VECERE
